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JS 44 (Rev. 06/17)       Case 5:19-cv-02072-ODW-SP Document 2 Filed 10/29/19 Page 1 of 1 Page ID #:14
                                                                                 CIVIL COVER SHEET
The ?S 44 civil cover sheet and the information contained herein neither replace nor supplement the filini and service of plcadin&s or other papers as rc~uircd by law except as
provided bl:' l?~al_ rules of_c<:mrt. This form, approved by the Judicial Conference of the United States in cptcmbcr 1974, is required for the use of the Jerk of Court for the
purpose of m1!tatmg the ClVII docket sheet. (SEE INSTJIUCTIONS ON NEXT PAGE OF THIS FORM)

I. (a) PLAINTIFFS                                                                                                        DEFENDANTS
MICHAEL TRUJILLO, individually and on behalf of all others similarly                                                   Free Energy Savings Company, LLC, d/b/a Quality Conservation
situated,                                                                                                              Services, a Delaware limited liability company,
    (b)    County of Residence of First Listed Plaintiff              San Bernardino, CA                                 County of Residence of First Listed Defendant                            San Bernardino, CA
                                   (EXCEPT IN U.S. PLAINTIFF CASES)                                                                                   (IN U.S. PLAINTIFF CASES ONLY)
                                                                                                                          NOTE:           IN LAND CONDEMNATION CASES, USE THE LOCATION OF
                                                                                                                                          THE TRACT OF LAND INVOLVED.

    (c)    Attorneys (Firm Name, Address, and Telephone Number)                                                           Attorneys ({/'Known)

Law Office of Afshin Siman 6210 Wilshire Blvd. Ste. 211
Los Angeles, CA 90048 424-229-9778

II. BASIS OF JURISDICTION (Placean "X"inOneBoxOnly)                                                     III. CITIZENSHIP OF PRINCIPAL PARTIES (Place an                                                      "X" in One Boxfor Plaintiff'
                                                                                                                     (For Diversity Cases Only)                                                        and One Boxfor D~fendant)
01      U.S. Government                   ~3   Federal Question                                                                                      PTF          DEF                                                          PTF             DEF
           Plaintiff                             (U.S. Government Not a Party)                                  Citizen of This State                0       I    0 I        Incorporated or Principal Place                    0 4            04
                                                                                                                                                                               of Business In This State

02      U.S. Government                   04   Diversity                                                        Citizen of Another State             0 2               2
                                                                                                                                                                  0          Incorporated and Principal Place                    0 5           0 5
          · Defendant                            (Indicate Citizenship q/Parties in Item 1//)                                                                                   of Business In Another State

                                                                                                                Citizen or Subject of a              0       3    0    3     Foreign Nation                                      0     6       0 6
                                                                                                                  Foreien Countru
IV. NATURE OF SUIT (Place an "X" in One Box Only)                                                                                                                  Click here for: Nature of Suit Code Descri•,tions.
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                           '          '                                     ''                  ·,'«'    ;;i<                                                     ,,            '" '> 'M   I
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                                                                                                                                                                                                                '1,t                   ,,,,
0    I IO Insurance                       PERSONAL INJURY                    PERSONAL INJURY                    0 625 Drug Related Seizure                   0 422 Appeal 28 USC 158             0 375 False Claims Act
0    120 Marine                       0 3 IO Airplane                   0 365 Personal Injury -                       of Property 21 USC 88 I                0 423 Withdrawal                    o 376QuiTam(31 use
0    130 Miller Act                   0 315 Airplane Product                  Product Liability                 0 690 Other                                        28 use 157                            3729(a))
0    140 Negotiable Instrument               Liability                  0 367 Health Care/                                                                                                       0 400 State Reapportionment
0    150 Recovery of Overpayment      0 320 Assault, Libel &                  Phannaceutical                                                                                                     0 410 Antitrust
          & Enforcement of Judgment          Slander                          Personal Injury                                                                0 820 Copyrights                    0 430 Banks and Banking
0    151 Medicare Act                 0 330 Federal Employers'                Product Liability                                                               0 830 Patent                       0 450 Commerce
0    152 Recovery of Defaulted                Liability                 0 368 Asbestos Personal                                                              0 835 Patent - Abbreviated          0 460 Deportation
          Student Loans               0 340 Marine                             Injury Product                                                                        New Drug Application        0 470 Racketeer Influenced and
          (Excludes Veterans)         0 345 Marine Product                    Liability                                                                      0 840 Trademark                             Com1pt Organizations
0    153 Recovery of Overpayment              Liability                     PERSONAL PROPERTY t#~'!tih '                                  §/<.«'                             ' L ,. ·""·' .. 0 480 Consumer Credit
          of Veteran's Benefits       0 350 Motor Vehicle               0 370 Other Frnud                     0 710 Fair Labor Standards                      0 861 HIA (1395ft)                 0 490 CableiSat TV
O    160 Stockholders' Suits          0 355 Motor Vehicle               0 37 I Truth in Lending                      Act                                     0 862 Black Lung (923)              0 850 Securities/Commodities/
0    190 Other Contract                      Product Liability          0 380 Other Personal                  0 720 Labor/Management                          0 863 DIWC/DIWW (405(g))                   -Exchange
O    195 Contract Product Liability   0 360 Other Personal                     Property Damage                        Relations                               0 864 SSID Title XVI               \11(890 Other Statutory Actions
0    196 Franchise                           Injury                     0 385 Property Damage                 0 740 Railway Labor Act                         0 865 RSI (405(g))                 0 891 Agricultural Acts
                                      0 362 Personal Injury -                  Product Liability              0 751 Family and Medical                                                           0 893 Environmental Matters
                                             Medical Ma]nractice                                                      Leave Act                                                                  0 895 Freedom of Infonnation
                                                              .,
                                                                   ,:, 1,ll"'1 "0ll.il!)-Pt<,"'}!11101!1$';1( 0
            "
                     '                    ,¥  .!           I                                                    790 Other Labor Litigation                   ::J21ll               flllllS''""'·          Act
0   2 IO Land Condemnation,           0   440 Other Civil Rights            Habeas Corpus:                    0 79 I Employee Retirement                      0 870 Taxes (U.S. Plaintiff        0 896 Arbitration
0   220 Foreclosure                   0   441 Voting                    0 463 Alien Detainee                         Income Security Act                             or Defendant)               0 899 Administrative Procedure
0   230 Rent Lease & Ejectment        0   442 Employment                0 510 Motions to Vacate                                                               0 871 !RS-Third Party                      Act/Review or Appeal of
0   240 Torts to Land                 0   443 Housing/                           Sentence                                                                            26 USC 7609                         Agency Decision
0   245 Tort Product Liability                Accommodation$            0 530 General                                                                                                            0 950 Constitutionality of
0   290 All Other Real Property       0   445 Amer. w/Disabilities - 0 535 Death Penalty                                        "~                                                                       State Statutes
                                              Employment                    Other:                            0 462 Naturalization Application
                                      0   446 Amer. w/Disabilities - 0 540 Mandamus & Other                   0 465 Other Immigration
                                              Other                     0 550 Civil Rights                           Actions
                                      0   448 Education                 0 555 Prison Condition
                                                                        O 560 Civil Detainee -
                                                                                 Conditions of
                                                                                 Confinement

V. ORIGIN (Place an "X" in One Box Only)
):(I      Original             02 Removed from               0    3    Remanded from                04 Reinstated or                 0       5 Transferred from              0 6    Multidistrict                      0     8 Multidistriet
          Proceeding              State Court                          Appellate Court                 Reopened                                Another District                     Litigation -                               Litigation -
                                                                                                                                               (specify)                            Transfer                                   Direct File
                                            Cite the U.S. Civil Statute under which you arc filing (Do not cite jurisdictional statutes unless diversity):
                                            47 U.S.C.      S     227
ivI.    CAUSE OF ACTION                     Brief description of cause:
                      Violation of the Teleohone Consumer Protection Act
VII. REQUESTED IN     ~ CHECK IF THIS IS A CLASS ACTION        DEMAND$                                                                                                     CHECK YES only if demanded in complaint:
     COMPLAINT:           UNDER RULE 23, F.R.Cv.P.                                                                                                                         JURY DEMAND:                        '1st Yes          ONo

WIii. RELATED CASE(S)
                        (See instn1ctions):
      IF ANY                                JUDGE                                                                                                                DOCKET NUMBER
                                                   ... ..                                                                         -··-·              ---·-                                     ·--·-   ----   ---·-    ---        ·-                --·
 )ATE                                                                        SIONA TURE OF ATTORNEY OF RECORD
,l}ctober 28, 2019                                                          s/ Afshin Siman
    OR OFFICE USE ONLY                                                  \

     RECEIPT#                      AMOUNT                                        APPL YING IFP                                               JUDGE                                  MAG.JUDGE
